                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
                               Plaintiff,       )
                                                )
                       v.                       )             No. 12-4044-02-CR-C-FJG
                                                )
BEROLDO ALMAZAN,                                )
                                                )
                               Defendant.       )

                                               ORDER

       Before the Court is the Government’s December 17, 2012 Sealed Motion for a Hearing
filed in United States v. McNeary, No. 12-4010 (W.D. Mo. Feb. 16, 2012). The Government
submits that the investigation (and subsequent superseding indictment on April 24, 2013) of
Attorney James Douglas Barding in Case No. 12-4041 (W.D. Mo. June 5, 2012) has created a
conflict of interest because Barding serves as an attorney for several individuals who are being
prosecuted in the Western District of Missouri, including Victor Lee McNeary in McNeary;
Leopoldo Nava-Nava in United States v. Nava-Nava, No. 12-4025 (W.D. Mo. March 21, 2012);
and Beroldo Almazan, and Adolfo Almazan-Hernandez in United States v. Castaneda-Gonzalez,.
No. 12-4044 (W.D. Mo. June 27, 2012).
       Since the filing of the Government’s motion, several hearings have been held on the
issues. At two of the hearings, all four of the above-listed defendants were present. 1 At the first
hearing, on January 18, 2013, prior to attorney Barding’s indictment, all four defendants were
brought before the Court and advised of the federal investigation and possible charges of
immigration and marriage fraud against their attorney, Mr. Barding. At this hearing, all
defendants waived any potential conflict of interest that this federal investigation against their
attorney might raise. At the second hearing, on May 14, 2013, the Court advised all four
defendants of the indictment issued by a federal grand jury formally charging attorney Barding
with violation of 18 U.S.C. § 371, 8 U.S.C. § 1325(c) and 18 U.S.C. § 1425(a) and (b). All

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        A Spanish interpreter was provided by the Court on behalf of the Spanish-speaking
defendants.


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defendants were given the information regarding the nature of the charges in the indictment,
along with a detailed explanation of the Court’s concern that the charges against Mr. Barding
would create the potential for a conflict of interest between the interests of defendants and the
interests of their lawyer, Mr. Barding. The Court specifically told each defendant, individually,
that they had the right to retain new counsel or new counsel could be appointed by the Court if
they qualified financially for such appointment. At this hearing, defendant Almazan-Hernandez
advised the Court that he would like a new attorney. Based on Mr. Almazan-Hernandez’s
request, and his qualification for appointment of counsel, the Court appointed a new attorney to
represent him. The other three defendants, McNeary, Nava-Nava, and Almazan, stated to the
Court they did not want new counsel. These defendants stated they were willing to waive any
claims of conflict of interest and ineffective assistance of counsel they might have in their
respective cases based on the indictment of their attorney, Mr. Barding, by the same United
States Attorney who was prosecuting the claims against them.
       Despite waivers by the remaining three defendants to continue with Mr. Barding as their
legal counsel, the Court held a telephone conference on May 15, 2013, with the Government and
Barding participating, and advised the parties that the conflict of interest in this case may not be
subject to waiver because on the facts surrounding the particular conflict in this case. The Court
gave the parties time to file additional authority on the issue, and attorney Barding made a filing
on May 16, 2013, supporting his continued representation of defendants McNeary, Nava-Nava,
and Almazan.
                                            Discussion
       The Court recognizes a non-indigent criminal defendant’s Sixth Amendment right to be
represented by the attorney selected by the defendant. See United States v. Edelmann, 458 F.3d
791, 806 (8th Cir. 2006). The general rule is that “defendants are free to employ counsel of their
choice and the courts are afforded little leeway in interfering with that choice.” Id. However,
the right to retain counsel of one’s choice is not absolute.” Id. “The right to choice of counsel
must not obstruct orderly judicial procedure or deprive courts of their inherent power to control
the administration of justice.” Id. “[C]ourts must balance the defendant’s right to counsel of his
own choosing against court’s interest in the administration of justice.” Id. The Edelmann court
explained why conflicts of interest can violate the rights of the defendant:

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       The right to counsel’s undivided loyalty is a critical component of the right to assistance
       of counsel; when counsel is burdened by a conflict of interest, he deprives his client of
       his Sixth Amendment right as surely as if he failed to appear at trial. Thus, the Supreme
       Court has recognized that the right to counsel guaranteed by the Sixth Amendment
       includes the right to representation that is free from conflicts of interest. When an
       attorney has a conflict of interest, that attorney violates his duty of loyalty to his client
       and fails to provide effective assistance of counsel.
458 F.3d 791, 806-07 (citations omitted).
       An actual conflict of interest occurs “when, during the course of the representation, the
attorney’s and the defendant’s interest diverge with respect to a material factual or legal issue or
to a course of action.” Edelmann, 458 F.3d at 807 (citing United States v. Levy, 25 F.3d 146,
155 (2nd Cir. 1994)). In Levy, cited by the Eighth Circuit in Edelmann, the Second Circuit found
that an attorney’s prosecution on unrelated criminal charges by the same office prosecuting the
defendant presented an actual conflict of interest. The court explained that:
       [The attorney] may have believed that he had an interest in tempering his defense
       of [the defendant] in order to curry favor with the prosecution, perhaps fearing
       that a spirited defense of [the defendant] would prompt the Government to pursue
       the case against [him] with greater vigor. Though [the attorney] was sentenced
       before the defendant’s trial began, the pendency of the charges against [the
       attorney] created a conflict for the lawyer in properly representing [the defendant]
       during the pretrial stage of the [the defendant’s case], as the Government noted in
       its January 5, 1990 letter.
Edelmann at 807 (quoting Levy at 156). This finding is consistent with the Seventh Circuit’s
holding in Thompkins v. Cohen, 965 F.2d 330, 332 (7th Cir. 1992), where the court held that a
criminal defendant’s counsel who was under criminal investigation can create a conflict of
interest because it may induce the lawyer to “temper the zeal of his defense of his client” out of
fear that he may lose favor with the prosecutor’s office. Edelmann at 807. The interests of a
lawyer are likely to diverge from the interests of his client, when the lawyer is being criminally
investigated and/or prosecuted by the same United States Attorney who is criminally prosecuting
his client. Armienti v. United States, 234 F.3d 820, 824-25 (2nd Cir. 2000). See also Briguglio v.
United States, 675 F.2d 81, 82 (3rd Cir. 1982) (discussing whether there was a real conflict of
interest when trial counsel was under investigation by same United States Attorney who was
prosecuting his client); United States v. McLain, 823 F.2d 1457, 1463-64 (11th Cir. 1987)
(holding that when trial counsel was under investigation by same United States Attorney who
was prosecuting counsel’s client actual conflict of interest existed).
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       Complaints made by defendants on appeal alleging Sixth Amendment ineffective
assistance of counsel in circumstances similar to this case include the following conflicts of
interest allegations: (1) the lawyer’s own criminal investigation caused him to devote less time
to his representation of his client and, therefore, the lawyer was ill-prepared and distracted; (2)
the lawyer’s own interest caused him to misadvise his client regarding his talking to the
probation department at the time of his sentencing; and (3) the lawyer, consciously or otherwise,
sought the goodwill of the United States Attorney for his own benefit which was not necessarily
in the best interests of the lawyer’s client. See Armienti at 825; see also. United States v.
DeFalco, 644 F.2d 132, 136-37 (3rd Cir. 1980) (inherent emotional and psychological barriers
created impermissible potential of preventing appellate counsel from competing vigorously with
the government; even without proof of actual conflict of interest, legitimate decisions of counsel
were rendered suspect because of conflicting loyalties to himself and his client).
       Based on the foregoing, the Court finds that while the potential conflict in attorney
Barding representing defendants McNeary, Nava-Nava, and Almazan could be waived by these
defendants, this does not mean the Court is required to accept such waivers. See United States v.
Ramos, 350 F. Supp. 2d 413, 423 (S.D.N.Y. 2004).2 “A district court has substantial latitude to
require disqualification even where defendants have attempted to waive any potential conflicts.”
Id. (citing United States v. Zichettello, 208 F.3d 72, 104 (2nd Cir. 2000) (quoting Wheat v.
United States, 486 U.S. 153, 163 (1988)). The risks that Mr. Barding might sacrifice the
interests of his clients in an effort to advance his own are too glaring for the Court to allow,
despite the waivers by these defendants. See Stoia v. United States, 22 F.3d 766, 771 (7th Cir.
1994). The possibility, and even probability, of prejudicial conflict is just too obvious and severe
for this Court to allow Mr. Barding to continue to represent these defendants. Barding is being
prosecuted for felony crimes by the same United States Attorney who is prosecuting his clients
for their felony crimes. Despite waivers by these defendants of potential conflicts, the reality of
Barding potentially seeking to negotiate the best possible bargain on behalf of himself while at
that the same time opposing the same United States Attorney on behalf of his clients, Victor Lee


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         To the extent the Ramos court determined that conflict of interest between attorney’s
indictment on criminal charges could be waived by the defendant, this Court disagrees; however,
this Court agrees with the Ramos court’s further analysis that disqualification of the indicted
attorney was appropriate.
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McNeary, Leopoldo Nava-Nava and Beroldo Almazan, poses one of potentially many actual
conflicts of interest between Mr. Barding and his clients. This finding is reasonable and
consistent with Levy and Thompkins because Barding is subject to prosecution for felony crimes
by the same United States Attorney who is prosecuting Barding’s clients for felony crimes.
Barding’s clients have the right to unconflicted representation, and this Court believes that the
conflict of interest in these case have the real potential of undermining such a right. This Court
believes there is an actual conflict of interest in this case.
        Moreover, this Court has an “independent interest in ensuring that criminal trials are
conducted within the ethical standards of the profession and that legal proceedings appear fair to
all who observe them.” Ramos at 423 (citing Wheat at 160). Allowing an attorney to defend
clients against federal criminal charges in the same federal court that is currently prosecuting the
attorney on federal criminal charges undermines the integrity of the judicial process. The Court
also recognizes the real pragmatic effects of the conflict of interest if this case were to go to trial.
Attorney Barding’s indictment has been extensively covered by the news media throughout the
State of Missouri in newspapers, television, and radio, thereby making selection of a jury in his
clients’ criminal trials difficult. Moreover, the Court can foresee problems with jurors
potentially associating a defendant’s choice of an attorney who has been indicted on federal
criminal charges with the guilt of the defendant.
                                              Conclusion
        There is no question that a lawyer laboring under a conflict is at a disadvantage. Thus,
while the client has the right to counsel of his choice, the Court remains obligated to protect a
client from actual conflicts of interest that the client may not fully understand or appreciate; the
Court is not compelled to accept a waiver of unconflicted loyalty, even where that is what the
defendant might prefer. Ramos at 423-24. Here, this Court believes that attorney Barding has an
actual conflict of interest with his clients who are being prosecuted criminally for crimes by the
same United States Attorney who is prosecuting him criminally. Moreover, this Court finds that
even if this were not an actual conflict, the Court further finds that Barding’s conflict with his
clients is so severe that it jeopardizes the integrity of the judicial process. ,
        IT IS, THEREFORE, ORDERED that attorney James Douglas Barding is disqualified
and, therefore, removed as defense counsel in the following cases: United States v. McNeary,

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No. 12-4010 (W.D. Mo. Feb. 16, 2012); United States v. Nava-Nava, No. 12-4025 (W.D. Mo.
March 21, 2012); and Beroldo Almazan in United States v. Castaneda-Gonzalez,. No. 12-4044
(W.D. Mo. June 27, 2012). It is further
       ORDERED that a hearing is scheduled for May 22, 2013, with defendants McNeary,
Nava-Nava and Almazan present to discuss obtaining or appointing new legal counsel for these
defendants immediately.
       Dated this 21st day of May, 2013, at Jefferson City, Missouri.



                                            /s/   Matt J. Whitworth
                                            MATT J. WHITWORTH
                                            United States Magistrate Judge




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